               United States District Court
     -------------------------- DISTRICT OF KANSAS----------------------------

DASHAUN MCCRAY,

                    Plaintiff,

v.                                                Case No. 22-2154-DDC

DENIS MCDONOUGH, M.D,
in his capacity as Secretary of the
Department of Veterans Affairs,

                    Defendant.



                       JUDGMENT IN A CIVIL CASE
☐     Jury Verdict. This action came before the Court for a jury trial. The issues have been
      tried and the jury has rendered its verdict.

☒     Decision by the Court. This action came before the Court. The issues have been
      considered and a decision has been rendered.

Plaintiff recovers nothing, the action is dismissed on the merits, and the defendant shall
recover costs from plaintiff consistent with the Memorandum and Order (Doc. 153) filed on
August 27, 2024.




____08/27/2024                                    SKYLER B. O’HARA
    Date                                          CLERK OF THE DISTRICT COURT

                                                  by: __s/ Megan Garrett_____________
                                                         Deputy Clerk
